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                                   UNITED STATES DISTRICT COURT
14                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

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      MARTIN CALVILLO MANRIQUEZ, et al.,
16                                                       No. 3:17-cv-7210-SK
17
                                 Plaintiffs,
18
                v.                                       JOINT SCHEDULING PROPOSAL
19
20    UNITED STATES DEPARTMENT OF
      EDUCATION and BETSY DEVOS, in her
21    official capacity as Secretary of Education,

22
                                 Defendants.
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     Joint Scheduling Proposal
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 1            On October 8, 2019, the Court entered an Order lifting the stay in this case and directing
 2   the parties to “submit a joint scheduling proposal no later than October 21, 2019.” Order at 2, ECF
 3   No. 118 (“October 8 Order”). The parties, including in California v. Dep’t of Educ., 3:17-cv-
 4   07106 (N.D.Cal.), collectively, met and conferred, and were able to agree on some, but not all,
 5   aspects of a schedule for further proceedings. Accordingly, the parties set forth a joint scheduling
 6   proposal for events on which they agree, as well as their respective schedule proposals for events
 7   about which they do not agree, below.
 8   I.       Joint Scheduling Proposal
 9            The parties agree that Plaintiffs will withdraw, in light of the schedule proposed below,
10   their motion for a declaration that documents are not privileged, ECF No. 80. The parties also
11   jointly propose the following schedule for additional proceedings:
12                 •    Defendants’ will file their answer to Plaintiffs’ amended complaint by November
13                      20, 2019.
14                 •    Plaintiffs will file any motion to complete or supplement the administrative record,
15                      or to challenge any privilege assertion in the record, within 21 days of Defendants’
16                      lodging of the administrative record and privilege log.
17                 •    After resolving all disputes related to the administrative record, the parties will meet
18                      and confer regarding a summary judgment briefing schedule.
19            The parties set forth their respective proposals about the aspects of a schedule about which
20   they could not agree below.
21   I.       Plaintiffs’ Proposal
22            The parties agree that the administrative record in this case will largely mirror the one in
23   the related case, California v. Dep’t of Educ., 3:17-cv-07106 (N.D. Cal.), and that the disposition
24   of the pending Motion to Complete the Record in that case will impact the schedule here. Plaintiffs
25   therefore propose two schedules to account for the various possible outcomes of California’s
26   motion and to get on the same schedule as the California case.
27        •   If the Court finds that the California record is complete: Defendants should file the
28            administrative record and privilege log by November 8, 2019.



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 1         •   If the Court finds that the California record is incomplete: Defendants should file the
 2             completed administrative record and privilege log within 6 weeks of the Court’s order.
 3   II.       Defendants’ Proposal
 4             The Administrative Record in this case will be substantially similar to the record
 5   Defendants produced in the related case, California v. Dep’t of Educ., 3:17-cv-7106
 6   (“California”). Consistent with this Court’s order in that case, issued in response to California’s
 7   motion to complete the administrative record, Defendants are prepared to produce a privilege log
 8   “clearly explaining the nature of each document withheld from the record” on the basis of privilege
 9   and “which privilege is asserted for each document withheld from the record.” California,
10   Amended Order at 3, ECF No. 81.
11             In the California case, the Court permitted the parties to propose two schedules, “one
12   assuming the Court finds that the administrative record is already complete, and one assuming that
13   the Court finds that the administrative record is incomplete.” California, Order at 1, ECF No. 78.
14   Defendants understand that the Court desires the related cases to proceed on the same track, and,
15   to that end, propose alternative schedules conditioned on whether the Court orders completion of
16   the administrative record in the California case.
17             If the Court finds that the California administrative record is complete: Defendants can
18   agree to certify and lodge the administrative record in this case by November 8, 2019, as Plaintiff
19   proposes. Defendants acknowledge that in California, the Court ordered Defendants to produce a
20   privilege log for the entire administrative record by October 25, 2019. California, Amended Order
21   at 1, ECF No. 81. For the reasons explained in Defendants’ motion to extend that deadline,
22   Defendants need significantly more time in order to produce such a privilege log. See California,
23   No. 3:17-cv-7106, Motion to Extend, ECF No. 85 (“California Extension Motion”). In short, the
24   Department must conduct some level of review of the approximately 54,000 documents it collected
25   when compiling the California administrative record, determine which documents were excluded
26   on the basis of privilege (as opposed to the basis that they were not considered, directly or
27   indirectly, by the relevant decisionmaker), and log each privileged document by explaining, per
28   the Court’s Order, the nature of each document, which privilege is asserted, and whether each



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 1   document has been produced in response to a FOIA request. Id. at 3-4. Consistent with their
 2   request in California, Defendants respectfully submit that they be given until January 10, 2020 to
 3   produce a privilege log covering the Department’s entire administrative record, assuming the Court
 4   does not order the Department to complete the record in any way.
 5            As noted above, the parties agree that Plaintiffs will then file any motion challenging the
 6   Department’s privilege assertions within 21 days of the Department’s production of the privilege
 7   log.
 8            If the Court finds that the California administrative record is incomplete: Regardless of
 9   whether the Court orders the Department to complete the administrative record in California, the
10   Department needs until January 10 to complete all the work necessary to produce a privilege log
11   for the record that was produced in California and that will be produced, in substantially similar
12   format, in this case. If the Court orders the Department to complete the record in some fashion,
13   such as by requiring additional searches, the Department will need additional time to conduct
14   whatever work is required by the Court’s completion order, including the logging of any additional
15   documents on an expanded privilege log.          Because the Department has already performed
16   extensive searches and collected a significant volume of documents in compiling the
17   administrative record for the related cases, it is hopeful that significant additional searches will not
18   be necessary in response to any order to complete the record. The Department will, however, need
19   to review the volume of documents it has already collected (more than 54,000), see California
20   Extension Motion at 3, both for privilege in order to produce a privilege log and for responsiveness
21   to any further order from the Court. Thus, any effort to respond to an order requiring completion
22   of the administrative record would necessarily be in addition to the efforts that are already
23   underway to produce a privilege log for the record that has been certified in California. To allow
24   the Department sufficient time to complete this process, Defendants respectfully submit that the
25   Department be given an additional six weeks, until February 21, to produce a “complete”
26   administrative record and privilege log based on any further Court order. Defendants believe the
27   parties and the Court can revisit the propriety of that date as necessary if and when the Court orders
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 1   the record to be completed. 1
 2            As noted above, the parties agree that Plaintiffs will then file any motion challenging the
 3   Department’s privilege assertions within 21 days of the Department’s production of the privilege
 4   log.
 5   DATED: October 21, 2019                           Respectfully submitted,
 6
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       Defendants note that it is difficult to predict, at this time, what further work may be required in
21
     response to an order requiring completion of the record. If all that is required is that the
22   Department “include the eight documents referred to in California’s Motion,” see California,
     Proposed Order at 2, ECF No. 66-5, the Department could certainly perform that task
23   expeditiously. California also asks, however, for an order requiring the Department to “revisit and
     complete the administrative record, including searching for all documents and materials directly
24
     or indirectly considered by the U.S. Department of Education in making the decision to abandon
25   and replace its full-relief methodology for defrauded Corinthian borrowers.” Id. at 1-2. As
     Defendants have explained, the Department included the documents that were considered, directly
26   or indirectly, in making “full-relief” discharge decisions and in adopting the partial relief
27   methodology that California alleges “abandoned” the “rule” requiring full relief, see California,
     Defs.’ Opp’n at 2-4, 17-18, ECF No. 72. Defendants thus believe that they have produced a
28   complete administrative record and would need further guidance from the Court to “complete” the
     record in the manner California requests.


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